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                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION


UNITED STATES OF AMERICA                                                  PLAINTIFF

VS.                            NO. 4:15CR00190-JLH-01

CHARLES TYRONE JACKSON                                                  DEFENDANT

                                       ORDER

      The Court appointed Damon C. Singleton to represent Charles Tyrone Jackson in

this case. (Docket entry #4, #7, and #23) Pending is Mr. Singleton’s motion to withdraw

as counsel. (Docket entry #28) For good cause shown, the motion is GRANTED.

      Damon C. Singleton is relieved as counsel of record. Danny Ray Williams has

entered an appearance on Mr. Jackson’s behalf. (#30)

      IT IS SO ORDERED, this 26th day of January, 2016.



                                        ___________________________________
                                        UNITED STATES MAGISTRATE JUDGE
